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 8                  IN THE UNITED STATES DISTRICT COURT
 9              FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                 Criminal Case No. 16CR0494-DMS
12                           Plaintiff,        ORDER
13                     V.

14   EDMUNDO RODRIGUEZ-BATISTA,

15                           Defendant.

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17
           No objections having been filed, IT IS ORDERED that the Findings and
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     Recommendation of the Magistrate Judge are adopted and this Court accepts
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     Defendant’s PLEA OF GUILTY to Count 1 of the Information.
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     Dated: July 22, 2016
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